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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NORTH DAKOTA
PDF FILE WITH AUDIO FILE ATTACHMENT

      2023-07010
      Engen v. U.S. Department of Education



      Case Type :                    ap
      Case Number :                  2023-07010
      Case Title :                   Engen v. U.S. Department of Education

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